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                                                                               United States Bankruptcy Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                                                                                   January 22, 2025
                      IN THE UNITED STATES BANKRUPTCY COURT                        Nathan Ochsner, Clerk
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                        §
                                              §       CASE NO: 22-33553
ALEXANDER E. JONES,                           §
                                              §
          Debtor.                             §
                                              §
                                              §       CHAPTER 7

                             ORDER RESETTING HEARING

       The hearing on the motion scheduled for tomorrow, January 23, 2025, is rescheduled to
February 5, 2025 at 9:00 a.m. (CT).


          Signed on


                                                   __________________________________
                                                   Christopher Lopez
                                                   United States Bankruptcy Judge
